Case 1:11-cr-20587-RNS Document 1539 Entered on FLSD Docket 05/23/2019 Page 1 of 3




                              United States District Court
                                        for the
                              Southern District of Florida

    Jorge Macli, Movant,                   )
                                           )
    v.                                     )
                                             Civil Action No. 16-23421-Civ-Scola
                                           )
    United States of America,              )
    Respondent.                            )
         Order Adopting Magistrate Judge’s Report and Recommendation
          This case was referred to United States Magistrate Judge Patrick A. White,
   consistent with Administrative Order 2003-19 of this Court, for a ruling on all
   pre-trial, nondispositive matters and for a report and recommendation on any
   dispositive matters. Movant Jorge Macli raises five claims in his 28 U.S.C. § 2255
   petition for habeas relief. With respect to his fifth claim, that he received
   ineffective assistance from counsel regarding the plea-bargaining process, Judge
   White held an evidentiary hearing on June 5 and 6, 2018. Thereafter, on
   November 5, 2018, Judge White issued a report, recommending that the Court
   deny Macli’s motion in its entirety. (Report of Magistrate, ECF No. 54.) Macli’s
   counsel filed objections (ECF No. 59) and the Government filed objections to the
   report (ECF No. 58.) Macli then filed a motion to supplement his counsel’s
   objections in a pro se capacity. (ECF No. 65.) According to the motion, Macli had
   been injured and hospitalized during the objection period and disagreed with his
   counsel’s decision to file objections to certain aspects of the report and not
   others. (Id.) The Court granted the extension and Macli filed his supplemental
   objections on March 5, 2019. (ECF No. 67.) The Government responded to both
   sets of objections. (ECF Nos. 63, 70.)
          As an initial matter the Government, in its objections, directs the Court’s
   attention to nine discrete factual findings presented in the report that it believes
   warrant clarification. (ECF No. 58.) The Court acknowledges these proposed
   corrections but at the same time notes that none of these findings affect the
   ultimate outcome in this case.
          The facts of Macli’s petition are set forth in extensive detail in Magistrate
   Judge White’s Report and Recommendation, and further supplemented by
   parties multiple objections and responses. To summarize, Macli, along with his
   father and sister, was charged with a series of health care fraud and money
   laundering offenses related to the operations of Biscayne Milieu, a mental health
   center. (ECF No. 54 at 3.) After a 30-day trial, Macli was convicted of multiple
   counts of health care fraud, health care fraud conspiracy, payment of health care
Case 1:11-cr-20587-RNS Document 1539 Entered on FLSD Docket 05/23/2019 Page 2 of 3




   kickbacks, conspiracy to pay health care kickbacks, money laundering, and
   conspiracy to commit money laundering. Macli was sentenced to 300-months in
   prison with a loss amount of $11 million. Macli appealed and the Eleventh
   Circuit affirmed his conviction. (Id. at 12.)
          Before this Court, Macli raises five grounds for relief.
                 (1) Counsel misapprehended the governing law and how it applied
                     to the evidence, resulting in a futile defense strategy.
                 (2) The government violated due process of law and its duty to
                     ensure a faire trial when it engaged in pretrial discovery tactics
                     designed to surreptitiously discovery the defense strategy.
                 (3) The government knowingly presented unreliable and false
                     testimony in violation of due process.
                 (4) Federal fraud statutes are unconstitutionally vague and as
                     applied constitute a bill of attainder or an ex post facto law.
                 (5) Counsel provided ineffective assistance in connection with the
                     plea bargaining negotiations.
   (Id. at 2.) Judge White determined that Macli’s ineffective assistance of counsel
   claim warranted an evidentiary hearing. During the evidentiary hearing, the
   government called Macli’s trial counsel and his father’s trial counsel to testify.
   (Id. at 23.) Macli’s counsel called Macli and his father, Antonio Macli, to testify.
   (Id.)
          Judge White found that Macli is unable to show deficient performance or
   prejudice arising from counsel’s failure to advise him regarding pleading guilty.
   (Id. at 37.) Judge White found that Macli’s testimony that he would have pled
   guilty had he been advised of the strength of the government’s case against him
   or if he had been advised that he could plead guilty in open court without being
   constrained to the government’s plea offer were disingenuous. (Id. at 33.) The
   testimony presented during the evidentiary hearing revealed that Macli
   “repeatedly insisted that he would only accept a plea offer under which he would
   serve five years.” (Id. at 34.) Therefore, Judge White rejected Macli’s “self-serving,
   disingenuous” testimony that he would have accepted a plea offer had he been
   given proper advice. The Court agrees with Judge White’s analysis.
          With regard to the remaining four grounds, the Court has considered—de
   novo—Magistrate Judge White’s Report, Macli’s multiple objections, the
   Government’s responses, the record, and the relevant legal authorities. For each
   of Macli’s arguments, Judge White analyzed Macli’s allegations and correctly
   found no deficiency or prejudice.
          Accordingly, the Court affirms and adopts Judge White’s report and
   recommendation. (ECF No. 54.) The Court denies Macli’s petition in its entirety
   (ECF No. 1). The Court does not issue a certificate of appealability. Finally, the
Case 1:11-cr-20587-RNS Document 1539 Entered on FLSD Docket 05/23/2019 Page 3 of 3




   Court directs the Clerk to close this case. Any pending motions are denied as
   moot.
         Done and ordered, at Miami, Florida, on May 23, 2019.



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                                            Robert N. Scola, Jr.
                                            United States District Judge
